                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                EASTERN DIVISION


CARSON WILLIAMS                 )
              Plaintiff,        )
                                )
v.                              )                  JUDGMENT
                                )
                                )                  No. 4:21-CV-16-FL
KILOLO KIJAKAZI, ACTING         )
COMMISSIONER OF SOCIAL SECURITY )
                 Defendant.     )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge, for
consideration of Defendant’s Consent Motion for Remand to the Commissioner.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s order entered
on December 2, 2021, that Defendant’s Consent Motion for Remand to the Commissioner is granted,
and the Court reverses the Commissioner’s decision under sentence four of 42 U.S.C. §405(g) and
remands the case to Defendant for further proceedings.

This Judgment Filed and Entered on December 2, 2021, and Copies To:
Charlotte Williams Hall (via CM/ECF Notice of Electronic Filing)
David N. Mervis (via CM/ECF Notice of Electronic Filing)


December 2, 2021                    PETER A. MOORE, JR., CLERK

                                      /s/ Sandra K. Collins
                                    (By) Sandra K. Collins, Deputy Clerk




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